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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                      Case No. 16-34941-H1
         Gustavo Giles-Flores

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       David G. Peake, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 10/03/2016.

         2) The plan was confirmed on 12/15/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
11/04/2019, 12/06/2021.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/11/2018, 09/03/2019, 06/04/2020, 11/03/2020, 09/29/2021, 12/06/2022.

         5) The case was completed on 10/17/2023.

         6) Number of months from filing or conversion to last payment: 84.

         7) Number of months case was pending: 88.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $37,971.29.

         10) Amount of unsecured claims discharged without full payment: $11,312.29.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor           $77,449.00
       Less amount refunded to debtor                      $4,409.50

NET RECEIPTS:                                                                                $73,039.50


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $6,093.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                    $3,918.36
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                            $10,011.36

Attorney fees paid and disclosed by debtor:               $357.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim       Principal       Int.
Name                              Class   Scheduled      Asserted         Allowed        Paid         Paid
BANK OF AMERICA N A           Unsecured      1,588.00            NA              NA            0.00        0.00
BRAEBURN PLAZA INC            Secured              NA       9,852.17        9,852.17      9,852.17      356.94
CAPITAL ONE                   Unsecured         501.00           NA              NA            0.00        0.00
CAPITAL ONE                   Unsecured         356.00           NA              NA            0.00        0.00
CAVALRY SPV I LLC             Unsecured      1,054.00       1,118.16        1,118.16        240.18         0.00
CHASE                         Unsecured      1,469.00            NA              NA            0.00        0.00
CITIBANK//THE HOME DEPOT      Unsecured         695.00           NA              NA            0.00        0.00
HARRIS COUNTY ET AL           Secured        2,338.71       4,147.29        4,147.29      4,147.29    1,220.05
INTERNAL REVENUE SERVICE***   Priority       2,000.00       3,856.58        3,856.58      3,856.58         0.00
INTERNAL REVENUE SERVICE***   Unsecured            NA         267.39          267.39          57.43        0.00
JOHN & MARY KUNTHARA          Unsecured            NA           0.00        4,993.01      1,072.49         0.00
JOHN & MARY KUNTHARA          Secured       37,500.00     42,493.01        37,500.00     37,500.00    4,261.36
RESERVE AD VALOREM            Secured              NA       2,075.50        2,075.50           0.00        0.00
RESERVE HOA FEES              Secured              NA       2,040.00        2,040.00           0.00        0.00
SANTANDER CONSUMER USA INC    Unsecured            NA       2,158.48        2,158.48        463.65         0.00




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Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
Secured Payments:
      Mortgage Ongoing                                         $0.00             $0.00              $0.00
      Mortgage Arrearage                                       $0.00             $0.00              $0.00
      Debt Secured by Vehicle                                  $0.00             $0.00              $0.00
      All Other Secured                                   $55,614.96        $51,499.46          $5,838.35
TOTAL SECURED:                                            $55,614.96        $51,499.46          $5,838.35

Priority Unsecured Payments:
       Domestic Support Arrearage                              $0.00              $0.00              $0.00
       Domestic Support Ongoing                                $0.00              $0.00              $0.00
       All Other Priority                                  $3,856.58          $3,856.58              $0.00
TOTAL PRIORITY:                                            $3,856.58          $3,856.58              $0.00

GENERAL UNSECURED PAYMENTS:                                $8,537.04          $1,833.75              $0.00


Disbursements:

         Expenses of Administration                            $10,011.36
         Disbursements to Creditors                            $63,028.14

TOTAL DISBURSEMENTS :                                                                       $73,039.50


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/31/2024                             By:/s/ David G. Peake
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                 CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the foregoing Trustee's Final Report has been
served electronically on all parties requesting electronic notice and has been served on the listed
parties (if listed) by mailing a copy of same to the address listed below via first class mail
January 31, 2024.


                                                 /s/ David G. Peake
                                                 David G. Peake
                                                 Chapter 13 Trustee


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